Case 08-13141-BLS Doc 6295-3 Filed 11/09/10 Page 1of6

Attachment C

Senior Lender Responsive Statement —
For Holders Of Tribune Senior Loan Claims
Case 08-13141-BLS Doc 6295-3 Filed 11/09/10 Page 2 of 6

Senior Lender Responsive Statement ~ For Holders Of Tribune Senior Loan Claims

This Statement is prepared by Angelo, Gordon & Co., L.P., Oaktree Capital Management,
L.P., and JPMorgan Chase Bank, N.A. (the “Senior Lender Proponents’’) for their fellow holders of
Senior Loan Claims (the “Senior Lenders”). [It has been approved by the Bankruptcy Court for use
in connection with the solicitation of votes on the four proposed plans of reorganization for Tribune
Company and its subsidiaries described below. It should be read in conjunction with the Disclosure
Statements and other materials approved by the Bankruptcy Court and is intended only as a brief
summary of the Senior Lender Proponents’ views. ]

The Senior Lender Proponents, along with the Debtors and the Official Committee of
Unsecured Creditors, are co-proponents of a Joint Plan of Reorganization for Tribune Company and
its subsidiaries (the “Settlement Plan”). The Senior Lender Proponents recommend that all
Senior Lenders vote in favor of the Settlement Plan and against the three competing plans of
reorganization in the Tribune bankruptcy cases (collectively, the “Competing Plans”): (1) the plan
filed by Aurelius Capital Management, LP and others (the “Litigation Plan’’); (2) the plan filed by
King Street Capital, L.P., and Marathon Asset Management, L.P. (the “Bridge Plan”); and (3) the
plan filed by certain holders of so-called “Step One Senior Loan Claims” (the “Step One Plan”).
This Statement is intended to assist Senior Lenders in comparing the recoveries under and risks
presented by the Settlement Plan to the recoveries and risks associated with the Competing Plans.
The Debtors and the Creditors’ Committee have prepared accompanying separate Statements,
directed to other constituencies in the bankruptcy cases, with respect to the Competing Plans.

The Settlement Plan provides Senior Lenders and other creditors with substantial immediate
distributions upon plan effectiveness. In contrast, the three Competing Plans provide for negligible
(if any) initial distributions to creditors and force creditors to wait years for even the prospect of
material payment. The Settlement Plan achieves this by resolving many of the so-called “LBO-
Related Causes of Action” that have caused the Tribune Debtors to remain mired in bankruptcy for
more than two years, through a compromise approved by the Debtors and the Creditors’ Committee
and endorsed by the Honorable Kevin Gross, who was appointed as mediator in the Tribune
bankruptcy cases. While the Senior Lender Proponents believe that the LBO-Related Causes of
Action resolved by the Settlement Plan do not have merit, they recognize the risk inherent in any
litigation of this complexity and magnitude and, perhaps more importantly, the substantial costs and
delay attendant upon such litigation. In light of those risks, and under the circumstances of the
Tribune bankruptcy cases, the Senior Lender Proponents believe that the Settlement Plan is fair and
reasonable from the perspective of Senior Lenders and all other creditors.

As shown below, Senior Lenders fare materially worse under each of the other three
Competing Plans. Unlike the Settlement Plan, the Competing Plans would subject Senior Lenders
and all other creditors to years of delay and substantial additional cost and risk before material
distributions, if any, can be made. To ensure a clear path to immediate recovery, the Senior Lenders
must support the Settlement Plan and, just as importantly, vote against the Competing Plans.

The Senior Lender Proponents accordingly urge all Senior Lenders to vote to:

ACCEPT the Settlement Plan on the BLUE BALLOT
included with the plan solicitation materials, indicating that the
Settlement Plan is the preferred plan; and

REJECT each of the Litigation Plan (PURPLE BALLOT),
the Bridge Plan (YELLOW BALLOT), and
the Step One Plan (GREEN BALLOT)

Case 08-13141-BLS Doc 6295-3 Filed 11/09/10 Page 3 of 6

Comparison Of Initial Distributions Under The Settlement Plan And The Competing Plans

A primary advantage of the Settlement Plan is that it provides for substantial distributions to
creditors immediately upon becoming effective. In contrast, the three Competing Plans provide
negligible (if any) initial distributions to creditors (including the Senior Lenders). They instead
compel creditors to wait what is likely to be years while the LBO-Related Causes of Action and
other related issues are endlessly litigated and all appeals are exhausted before they potentially can
receive material payments on account of their claims, while putting creditors at serious risk of never
receiving material distributions at all. As that litigation easily could take five years or longer,
creditors contemplating voting for any of the Competing Plans must be prepared to wait a half a
decade for their distributions, all while risking further erosion in the value of Tribune (and thus their
recoveries) and assuming the risk that the protracted litigation ultimately will not result in any
additional distributions at all.

The following chart compares the initial distributions under the Settlement Plan with (i) each
creditor constituency’s “natural recovery” (the recovery that would be received if all claims against
the estates were allowed and the LBO-Related Causes of Action yielded no recoveries) and (11) the
initial distributions that would be made under the various Competing Plans. This comparison shows
that the Settlement Plan provides Senior Lenders, and indeed virtually all creditors, substantially
greater distributions upon effectiveness than any of the Competing Plans.

Initial Distributions - Not Contingent On Litigation Recoveries

Class/Claims Settlement Plan Natural Recovery Litigation Plan! | Bridge Plan‘ Step One Plan’
(ballot color) (blue ballot) (purple ballot) (yellow ballot) (green bailot)

Parent: 1.09% Parent; 4.81% Parent: 1.37%

“Step One” Subs: 69.95% Subs: 70.90% Subs: 69.95%

Senior Loans Total: 77.03% Total: 75.71% 34.20% 34.20% | Total: 71.32%
Parent: 1.09% Parent: 4.81%

“Step Two” Subs: 69.95% Subs: 70.90%

Senior Loans Total: 77.03% Total: 75.71% 0.00% 0.00% 0.00%

Bridge Loans 0.00% 0.00% 0.00% 7.70% 0.00%

Senior Notes 32.73% 4.81% 4.80% 4.80% 23.38%

Other Parent 35.18% or 25.83% or

Claims (Trade) 32.73%? 4.81% 4.30% 4.30% 23.38%?

Claims Against

Subs (Trade) 100% 2.61% 8.00% 8.00% 100%

PHONES Notes 0.00% 0.00% 0.00% 0.00% 0.00%

1 Assumes that litigation over “sharing provisions” of Senior Loan Agreement has not resulted in a final, non-appealable judgment
before effectiveness of the plan but that the Bankruptcy Court nevertheless permits distributions in respect of “Step One” claims.
If the Bankruptcy Court did not permit such distributions, a very real risk, initial distributions to all Senior Lenders would be
0.00%. Also assumes that litigation over allowed amount of PHONES Notes Claims has not resulted in a final, non-appealable
judgment by effectiveness of the plan and that illusory Bridge Plan “settlements” (see below) are not approved.

2 Depends on creditor election between Option 1 and Option 2.

-2-

Case 08-13141-BLS Doc 6295-3 Filed 11/09/10 Page 4of6

The Litigation Plan Promises Delay And Destruction Of Value

The Litigation Plan is proposed by creditors whose natural recovery in these cases is less
than 5 cents on the dollar in case of the Senior Notes and $0 for the PHONES Notes, and their
respective indenture trustees.

Through the Litigation Plan, those creditors attempt to leverage their way to greater
recoveries by using funds rightfully belonging to the Senior Lenders to pursue “bet the farm”
litigation while holding the value of Tribune hostage to the detriment of all other creditors. The
Litigation Plan requires that up to 51.2% of the Debtors’ $6.75 billion of distributable enterprise
value (called “DEV” in the Litigation Plan) be set aside and not distributed until each and every
LBO-Related Cause of Action and every related matter (including litigation over the allowed
amount of the PHONES claims) — no matter how frivolous or untenable — has been fully and finally
litigated, appealed, and resolved.

At bottom, the Litigation Plan attempts to extract “hold up” value by imposing extraordinary
time value and administrative expenses, as well as market risks, on other creditors of the bankruptcy
estates. The contemplated litigation will likely take five years or longer and will cost tens, if not
hundreds, of millions of dollars. In the meantime, a huge portion of Tribune’s enterprise value will
not be distributed to the Senior Lenders or anyone else, the ability of Tribune to operate its business
and raise new capital will be impaired, and Tribune’s interactions with the FCC will be
complicated. Because much of the withheld value will take the form of New Common Stock in the
Reorganized Tribune, the delay alone could be extremely harmful because, among other things, it
will deprive creditors of any ability to sell the stock regardless of movements in share price or
changes in market value. As the proponents of the Litigation Plan admit, due to fluctuations in the
performance of the Tribune business and economic conditions as a whole, “it cannot be guaranteed
that the DEV held in the Distribution Trust Reserves will not decrease between the time of
Confirmation and ultimate distributions to Creditors from the Distribution Trust Reserves and,
therefore, Creditors might receive New Common Stock and/or New Warrants that have lower
values than they had on the Confirmation Date.”

Moreover, the very fact that 50% of more of the outstanding shares of Reorganized Tribune
would be held in reserve would likely substantially depress the market value of the New Common
Stock, thereby further harming creditors. At the same time, the Distribution Trust holding all of the
reserved value — which will be controlled by the Litigation Plan proponents — would be entitled to
appoint two of the seven members of the Board of Directors of Reorganized Tribune and vote a
majority of the outstanding shares of Reorganized Tribune, thus giving an entity with no economic
stake in the enterprise de facto control over the operations of Tribune for the foreseeable future.

Adding insult to injury, the proponents of the Litigation Plan would have Senior Lenders —
who will be, under all conceivable litigation scenarios, the majority owners of Reorganized Tribune
— pay for this litigation through a $40 million initial outright grant of funds to the Litigation Trust
(with the Litigation Trust able to use future recoveries to fund additional litigation even after that
$40 million in seed money runs out). In other words, Senior Lenders would be forced to pay for the
litigation commenced against them and all other parties.

Because the Litigation Plan requires Senior Lenders to spend $40 million to fund endless
litigation over questionable claims, places the entirety of the costs and risks of delay on the Senior
Loan Claims, and delays material distributions for years, all Senior Lenders unequivocally should
vote NO on the Litigation Plan by voting REJECT on their PURPLE BALLOTS.

Case 08-13141-BLS Doc 6295-3 Filed 11/09/10 Page 5of6

The Bridge Plan Is Illusory

The Bridge Plan is proposed by holders of Bridge Loan Claims. As indebtedness that is
expressly subordinated to all Senior Loan Guaranty Claims against the Guarantor Debtors (which
represent more than 90% of Tribune’s enterprise value), the Bridge Loan Claims are entitled to a
minimal recovery — at best — under all plausible litigation scenarios.

In an effort to escape their precarious position, the proponents of the Bridge Plan have
crafted a plan premised around a series of self-serving “settlements” that have no prospect of
acceptance or approval and thus are completely illusory. Specifically, the Bridge Plan provides for
(a) a “Step One Lender Settlement” that would divert $695 million in value from Senior Lenders to
other creditors of Tribune (including holders of Senior Notes, PHONES Notes, and Other Parent
Claims), plus 75% of all recoveries on LBO-Related Causes of Action to be pursued by the
Litigation Trust; (b) a “Step Two Lender Settlement” that would divert an additional $797 million
to such other Tribune creditors; and (c) a “Bridge Loan Lender Settlement” that would serve no
purpose but to guarantee Bridge Lenders $125 million in cash, which actually would give Bridge
Lenders a recovery substantially higher than their entitlements even if the Bridge Loan Claims were
allowed in full. If those “settlements” are not accepted by the relevant constituencies and approved
by the Bankruptcy Court, as they almost certainly will not be, the Bridge Plan reverts to the
Litigation Plan, with more than half of Tribune’s distributable enterprise value being held back for
the foreseeable future.

These “settlements” are illusory because not a single constituency has accepted or will
accept them, aside from the Bridge Lenders themselves, who would be receiving a gift from other
creditors. No estate representative (neither the Debtors nor the Creditors’ Committee) negotiated
the settlements or supports them. Nor were the settlements negotiated with or supported by the
Senior Lenders. Accordingly, unlike the compromises embodied in the Settlement Plan — which
were negotiated at arms’ length with estate representatives charged with pursuing the actual causes
of action at issue and endorsed by the mediator appointed by the Bankruptcy Court — the Bridge
Plan “settlements” are self-serving proposals with no support from any relevant party. Because the
Bridge Lenders have no authority to unilaterally implement these schemes that are the cornerstones
of their plan, the ‘‘settlements” almost certainly will fail, and the Bridge Plan will revert to the
Litigation Plan with its minimal distributions and excessive cost, delay, and risk.

Accordingly, all Senior Lenders unequivocally should vote NO on the Bridge Plan by
voting REJECT on their YELLOW BALLOTS.

The Step One Plan Is Unconfirmable

The Step One Plan is proposed by certain holders of so-called Step One Senior Loan Claims
(i.e., Senior Loan Claims other than those in respect of “Incremental Term Borrowings” under the
Senior Loan Agreement). It is premised on a “‘settlement” of LBO-Related Causes of Action
relating only to the Step One Senior Loan Claims (and not the Step Two Senior Loan Claims), in
which holders of Step One claims would divert $290 million in value to other creditors of Tribune
(holders of Senior Notes and Other Parent Claims), while leaving the remaining LBO-Related
Causes of Action for post-bankruptcy litigation.

The Step One Plan is unconfirmable as a matter of law because it contemplates a
“settlement” to which none of the necessary constituencies are parties. Indeed, like the Bridge Plan,
it is premised on a “settlement” that was not negotiated with anyone. No estate representative
(neither the Debtors nor the Creditors’ Committee) negotiated the settlement or supports it. Nor
was the settlement negotiated with or supported by Senior Lenders other than the small group of
Senior Lenders who are proponents of the Step One Plan. Furthermore, the Step One Plan 1s not

4.

Case 08-13141-BLS Doc 6295-3 Filed 11/09/10 Page 6of6

supported by the Debtors or the Creditors’ Committee, who would likely fight its confirmation as it
provides substantially less value than the Settlement Plan.

Like the Litigation Plan and the Bridge Plan, the Step One Plan would hold distributions to
Senior Lenders hostage to litigation over the “sharing provisions” of the Senior Loan Agreement,
which the Senior Lender Proponents believe clearly provide for holders of Step Two claims to share
in distributions made in respect of Step One claims even if Step Two claims are avoided or
unenforceable against the Tribune Debtors. The proponents of the Step One Plan assert that those
sharing provisions are unenforceable and should be invalidated. That position will be hotly-
contested, resulting in litigation that, despite its low likelihood of success, could take years to
resolve through a final, non-appealable judgment. Until such litigation is resolved, holders of Step
Two claims will receive no distributions, and it is very possible that the Bankruptcy Court could
order that all distributions to Senior Lenders (including Step One claims) be reserved and withheld,
meaning that Senior Lenders could be forced to wait years before receiving any distribution
whatsoever from the bankruptcy estates. Moreover, by advocating for nullification of the sharing
provisions and attacking some of the Senior Loan Claims (the Step Two claims), the proponents of
the Step One Plan (which, according to their own filings, hold a small fraction of the Senior Loan
Claims) undermine the position that the LBO-Related Causes of Action against the Senior Lenders
have no merit and thus jeopardize recoveries of all Senior Lenders in order to pursue their
shortsighted goal of advantaging themselves at the expense of holders of Step Two claims.

In all events, the Step One Plan contemplates that massive amounts of New Common Stock
will be reserved, and not distributed, for the many years it will take the litigation to conclude, thus
depressing the market value of the New Common Stock that is distributed and harming the very
holders of Step One claims that the Step One Plan purports to benefit. In contrast, the Settlement
Plan provides for the allowance of all Senior Loan Claims (both Step One claims and Step Two
claims), meaning that there is no further risk of avoidance and no litigation or dispute over any
aspect of the Senior Loan Claims. As described above, this enables Senior Lenders to receive
substantial immediate distributions from the bankruptcy estates, including distributions of
substantially all of the New Common Stock, thus eliminating value depressing reserves, and clearly
is a superior option, not only for holders of Step Two claims but for all Senior Lenders.

For the foregoing reasons, the Step One Plan is not in the interests of any Senior Lender,
including those lenders who hold Step One claims. A Step One Senior Lender who votes against
the Settlement Plan and in favor of the unconfirmable Step One Plan only makes it less likely the
Settlement Plan will receive the requisite votes to be confirmed and thus increases the likelihood
that distributions will be withheld from Step One Lenders until litigation over the LBO-Related
Causes of Action is completely resolved.

Accordingly, all Senior Lenders unequivocally should vote NO on the Step One Plan by
voting REJECT on their GREEN BALLOTS.

Respectfully,

Angelo, Gordon & Co., L.P.
Oaktree Capital Management, L.P.
JPMorgan Chase Bank, N.A.

5.
